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     COUNSEL FOR TRANS UNION LLC
 7   **Designated Attorney for Personal Service**
 8   Kurt Bonds, Esq.
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10
                            IN THE UNITED STATES DISTRICT COURT
11

12                                 FOR THE DISTRICT OF NEVADA

13   BRENDA KARATAS,                                     Case No. 2:21-cv-01956-JAD-BNW
14                         Plaintiff,                    JOINT MOTION AND ORDER
                                                         EXTENDING DEFENDANT TRANS
15   v.                                                  UNION LLC’S TIME TO FILE AN
16                                                       ANSWER OR OTHERWISE RESPOND
     EXPERIAN INFORMATION SOLUTIONS,                     TO PLAINTIFF’S COMPLAINT
17   INC., PORTFOLIO RECOVERY
     ASSOCIATES, LLC, CALVARY PORTFOLIO                  (FIRST REQUEST)
18   SERVICES LLC, TRANS UNION LLC,
     CITIZENS COMMUNITY FEDERAL, N.A.,
19   INNOVIS DATA SOLUTIONS, INC., AND
     AQUA FINANCE, INC.,
20

21                          Defendants.

22          Plaintiff Brenda Karatas (“Plaintiff”) and Defendant Trans Union LLC (“Trans Union”),
23   by and through their respective counsel, file this Joint Motion Extending Defendant Trans Union’s
24   Time to File an Answer or Otherwise Respond to Plaintiff’s Complaint.
25          1.     On October 25, 2021, Plaintiff filed her Complaint. Trans Union was served with
26   Plaintiff’s Complaint on November 1, 2021. The current deadline for Trans Union to answer or
27   otherwise respond to Plaintiff’s Complaint is November 22, 2021.
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 1           2.       On November 15, 2021, counsel for Trans Union communicated with Plaintiff’s

 2   counsel via email regarding an extension within which to file a response to the Complaint, and

 3   Plaintiff’s counsel agreed to the extension.

 4           3.       The parties will actively discuss a potential early resolution of this case, and the

 5   parties believe an extension of this nature may save waste of the parties’ time and expense. The

 6   additional time will allow Plaintiff and Trans Union time to fully explore such early settlement

 7   discussions.

 8           4.       Moreover, Trans Union’s counsel will need additional time to review the

 9   documents and respond to the allegations in Plaintiff’s Complaint. This Joint Motion is made in
10   good faith and not for the purposes of delay.

11           5.       Plaintiff has agreed to extend the deadline in which Trans Union has to answer or

12   otherwise respond to Plaintiff’s Complaint up to and including December 22, 2021. This is the

13   first motion for extension of time for Trans Union to respond to Plaintiff’s Complaint.

14
     Dated this 22nd day of November 2021.
15
                                                     QUILLING SELANDER LOWNDS
16
                                                     WINSLETT & MOSER, P.C.
17
                                                     /s/ Jennifer Bergh
18                                                   Jennifer Bergh
19                                                   jbergh@qslwm.com
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21                                                   (214) 560-5460
                                                     (214) 871-2111 Fax
22                                                   COUNSEL FOR TRANS UNION LLC
             Order
23
      IT IS SO ORDERED
                                                     FREEDOM LAW FIRM AND KIND LAW
24    DATED: 1:24 pm, November 23, 2021


25                                                   /s/ Gerardo Avalos
      BRENDA WEKSLER                                 George Haines
26    UNITED STATES MAGISTRATE JUDGE                 ghaines@freedomlegalteam.com
                                                     Gerardo Avalos
27                                                   gavalos@freedomlegalteam.com
                                                     8985 S. Eastern Avenue, Suite 350
28
                                                     Las Vegas, NV 89123
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